  Case 20-05002-rlj   Doc 28-3 Filed 04/27/20 Entered 04/27/20 17:48:37   Desc
                           Proposed Order Page 1 of 2




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             LUBBOCK DIVISION

IN RE:                               §
                                     §
REAGOR-DYKES MOTORS, LP et al        §     Case No. 18-50214-rlj-11
                                     §     Jointly Administered
Debtors                              §

REAGOR AUTO MALL LTD.;            §
REAGOR-DYKES AMARILLO, LP;        §
REAGOR-DYKES FLOYDADA, LP;        §
REAGOR-DYKES IMPORTS, LP;         §
REAGOR-DYKES AUTO COMPANY, LP §
REAGOR-DYKES PLAINVIEW, LP;       §
REAGOR-DYKES MOTORS, LP; and      §
REAGOR-DYKES SNYDER, LP,          §
     Plaintiffs                   §
                                  §
V.                                §        Adversary No. 20-05002-rlj
                                  §
FIRSTCAPITAL BANK OF TEXAS, N.A., §
     Defendant.                   §

                      ORDER DENYING MOTION TO DISMISS
  Case 20-05002-rlj      Doc 28-3 Filed 04/27/20 Entered 04/27/20 17:48:37                 Desc
                              Proposed Order Page 2 of 2




       CAME NOW TO BE CONSIDERED, the Motion to Dismiss [Docket No.15] filed by

FirstCapital Bank of Texas, N.A.in the above-styled and captioned adversary case. The Court has

considered the motion, the brief in support, the response in opposition by Plaintiffs, and any other

briefing and argument by counsel. IT IS ORDERED that First Capital Bank of Texas, N.A.’s

Motion to Dismiss [Docket No. 15] is hereby DENIED.

                                   # # # END OF ORDER # # #




SUBMITTED BY:

/s/ Andrew S. Hicks
Andrew S. Hicks
Texas Bar No. 24032419
Marc S. Tabolsky
Texas Bar No. 24037576
SCHIFFER HICKS JOHNSON PLLC
700 Louisiana Street, Suite 2650
Houston, Texas 77002
Tel: (713) 357-5150
Fax: (713) 357-5160
ahicks@shjlawfirm.com
mtabolsky@shjlawfirm.com

Dustin Burrows
Texas Bar No. 24048375
LIGGETT LAW GROUP, P.C.
1001 Main Street, Suite #300
Lubbock, Texas 79401
Tel: (806) 744-8478
Fax: (806) 744-8479
dustin@liggettlawgroup.com


SPECIAL LITIGATION COUNSEL TO DEBTORS,
REAGOR-DYKES MOTORS, LP et al.


                                                -2-
